  AO 247 (02/08)Case    6:96-cr-00004-JRH-CLR
                 Order Regarding Motion for Sentence Reduction   Document 863 Filed 12/04/08 Page 1 of 1

                                      UNITED STATES DISTRICT CQ
                                                                                                                       COURT
                                                                      for the                                        ! flJV

                                                          Southern District of Georgia                      -
                                                                                                                     AM 9: Lf 5
                                                             Statesboro Division
                    United States of America                           )
                               v.                                      )
                                                                       ) CaseNo: CR6960000.7OISt OF GA.
                          Sylvester Greene
                                                                       ) USMNo: 09107-021
Date of Previous Judgment: October 8, 1996                             ) Randy C. Anderson
(Use Date of Last Amended Judgment if Applicable)                      ) Defendant's Attorney


                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of Ethe defendant LJthe Director of the Bureau of Prisons                      El
                                                                                        the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the tenn of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of _____________ months is reduced to
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:        32               Amended Offense Level:     30
Criminal History Category:     V                Criminal History Category: V
Previous Guideline Range:  188  to 235 months   Amended Guideline Range 151 to 188 months
II. SENTENCE RELATIVE TO AMENDED GUIDELiNE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
El Other (explain):

111. ADDITIONAL COMMENTS
'l'he Court has denied the motion for reduction of sentence based on factors identified in 18 U.S.C. § 3553(a), namely
the history and characteristics of the defendant and the need to protect the public from further crimes of the
defendant. The defendant's Bureau of Prisons' disciplinary record is horrible. He has been cited on numerous
occasions for refusing work assignments, refusing to obey orders, and possessing intoxicants. The defendant
continues to refuse to abide by the laws and regulations of our society.

Except as provided above, all provisions of the judgment dated October 8, l996                        shall remain in effect.
IT ISSO ORDERED.

Order Date:


                                                                          B. Avant Edenfield
Effective Date:                                                           United States District Judge
                                                                          For the Southern District of Georgia
                    (if different from order date)                                          Printed name and title
